            Case 1:18-cv-02088-SAG Document 6 Filed 07/30/18 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

LIVINGTSON ASSET MANAGEMENT, LLC

       Plaintiff

v.
                                                    Case No: 1:18-cv-02088-GLR
ENZOLYTICS, INC.

      Defendant
_____________________________________________________________________________

                                           ANSWER


       Defendant Enzolytics, Inc., by and through Duncan S. Keir and Price & Keir, LLC, its

attorneys, hereby answers the Complaint by Livingston Asset Management, LLC as follows:

       1.      Admitted.

       2.      Admitted.

       3.      Admitted.

       4.      Admitted.

       5.      Admitted.

       6.      Denied.

       7.      Admitted.

       8.      Admitted.

       9.      Defendant is without sufficient information to Admit or Deny the allegations in

               this paragraph.

       10.     Denied.

       11.     Admitted.
          Case 1:18-cv-02088-SAG Document 6 Filed 07/30/18 Page 2 of 2



       12.     Admitted.

               WHERFORE, having fully answered, Defendant Enzolytics, Inc., prays this

       Honorable Court grant the relief requested in the Complaint.

                                               Respectfully submitted,

                                               _________/s/____________________
                                               Duncan S. Keir (28353)
                                               Price & Keir, LLC
                                               1777 Reisterstown Road
                                               Suite 340
                                               Baltimore, MD 21208
                                               (410) 528-7205
                                               (410) 670-4252
                                               dkeir@fixedcostlaw.com
                                               Attorney for Defendant


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of July, 2018, to the extent that the following

persons were not served via he Cm/ECF system, I caused a copy of the foregoing Answer to be

sent by first class mail, postage prepaid to Plaintiff’s counsel, Matheau J. W. Stout, 400 E. Pratt

Street, 8th Floor, Baltimore Maryland 21202.

                                             _________/s/____________________
                                              Duncan S. Keir (28353)
